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                                                   CONFIDENTIALITY AGREEMENT                                     0
   For Practice Team Members in a Supervisory Position (Regional Vice President, Field
    Director, Professional Relations Director, Medical Director, Partner, Field Trainer,
  Certified Hospital Director, Certified Chief of Staff, Director, Officer, CTS Team Leader
                                         or Manager)
        This Confidentiality and Non-competition Agreement, dated as of tbe ~ day of ~                           ,
~ is made by               Me                                (ltI" or "Me") with and for the ben It of Medical
Management International, Inc. and its Afflliates (as defined in Section 10 below). Each reference to MMf in this
Agreement includes its Affiliates.
        I understand that as a condition to my employment by MMI, MMI requires that I 'enter into this
Confidentiality and Non-competition Agreement (this "Agreement").

                   THEREFORE. for valuable consideration, I agree as follows:
        , 1. Confidentiality. At all times, both during and after my employment, I will protect and maintain the
 confidontiali.ty of, and not use for my own benefit or disclose to any other Person (as defined in Section 14 below),
 any confidential infonnation belonging or pertaining to MMI or its business regardless of the fonn or manner in
 which J obtain such information. I understand that confidential information includes, but is not limited to, computer
 software (source and object code), documentation, research and development. customer lists and patient information,
 rnIIrketing and business plans, forms of agreements and other legal documents, business procedures, sj'litems and
 methods, flllancial statements and projections, training materials, treatment protocols, and any and all other
 information, of every fonn and nature, belonging or pertaining to MMI, ex.cept only such information as I establish
 was generally available to the public at the time I received it or £ubsequently became generally available to the
 public other than as a result, directly or indirectly. of disclosure by Me. This obligation also extends to information
 provided to MMI by other Persons under an obligation of confidentiality.

           2. Assignment of Inventions aDd Copyrights. 1 ,assign to MMI all of my right, title and interes1 in all
  inventions (whether or not patentable and whether or not reduced to practice), and in 1111 copyrights (whether or not
  published), which are made, invented, created or conceived by Me (whether solely or jointly with others) during my
, employment by MMI, and thereafter for a period of one year, if made with or based upon any of the confidential
  infonnation of :M11I. I agree that all such inventions and copyrights are and wi11 be the sole property of MMI. At
  the request of MMI, I will execute all documents necessary to evidence MMI's title to the inventions and copyrights.
  ] win render reasonable assistance in attempting to patent the inventions and register the copyrights.

           3. Return of Confidential Material. When I cease to be employed by MM[ for any reason, whether
 volunmry or involuntary, I will promptly return all confidential information of MMI (including all copies, notes and
 extracts therefrom); r \\111 erase or cause to be erased all confidential information from any computer memory or
,storage which is not left with MMI; and I will not take with me any document or computer media containing any
 confidential information,

           4. Non-competition.
                     4.1 Except as specifically pennitted in Section 4.2 and Section 4.3, during my employment by
 MMI and for a period of three full years after I cease to be employed by MMl for any reason, Whether voluntary or
 involuntary, I will not compete, directly or indirectly, in any capacity or form (i.ncluding, without limitation, by
 acting as a paid or unpaid director, officer, agent, representative, employee, . or manager of or consultant to any
 Person, by acting as a proprietor of any Person, or by holding any direct or indirect pa:rticipation in any Person
 whether as an owner, partner, limited partner, member, joint venturer, trustee<, shareholder, creditor, consultant or
 otherwise), in any business i.nvo Ived in: (a) owning, managing, sponsoring, franchising, or operating, or providing
 matlllgement, administration or other business services to, one or more veterinary hospitals or other veterinary
 service facilities in the United States or Canada, (b) developing, distributing or marketing software andlor systems
 for the opt;)ration or management of veterinary hospitals or other veterinary service facilities in the United States or
 Canada, (c) developing, selling, marketing, licensing or providing any veterinary health insurance, veterinary
 wellness plan, or any other product or program pertaining to the provision or financing of veterinary service~ in the
 United States or Canada, (d) conducting clinical trials relating to animal health or veterinary procedures,
 medications or other products, although I will not violate the terms of this agreement by working for such a business
 in a sales, marketing, technical support, or technical services capacity, or (e) compiling, analyzing or distributing
  data related to animal hellith or the veterinary medical industry (collectively, the "Restricted Business"). During the


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same three year period, i agree not to solicit, offer employment to, or to hire or retain (on behalf of myself or any
 other Person) any employee of or contractor to MMI or to contact any employee or contractor of MMI by any
 means, directly or indirectly, for the purpose of inducing such employee or contractor to terminate such relationship.
During the same three year period, I agrt:e not to solicit cliems from aoy hospital or facility of MMI (including its
 Affiliates) regardless of whether I worked at the hospital or facility.
                     4.2 Notwithstanding Section 4 .1 above, if lam II doctor of veterinary medicine, I understand that
 after I cease to be employed by ~l for any reason, 1 may provide veterinary medical services as an owner or
 employee of a veterinary hospital or other veterinary service facility provided (a) that such hospital or facility is not
 located within a three mile radius of any hospital or facility of MMl, where I have worked more than fifty days in
.the preceding twe1ve month period or where 1 have had management authority, (b) that I ,vill not work in a
 management capacity, or as a supervisor of one or more veterinarians, in any hospital, business, or facility that is a
 part of a group of three or more veterinary hospitals, related businesses, or related facilities which are, directly or
 indirectly, under common ownership, contr01, management, operation or sponsorship and (c) that the confidentiality
 provisions of this Agreement will remain fully binding and enforceable whether or not I choose to practice
 veterinary medicine as permitted in this Section 4.2. I understand that I will not violate the provisions of this
 Section should I provide veterinary medical services to: (1) a practice providing veterinary services solely in one
 specialty area, (2) a practice providing solely emergency services, (3) a practice that cares solely for a species other
 than dogs, cats, pet birds, or pet reptiles, or (4) an MMl Charter Practice.
                     4.3 Notwithstanding Section 4.1 above, if I am employed as a Certified Hospital Director, I
 understand that after 1 cease to be employed by MMI for any reason, I may work for a veterinary hospital or other
 veterinary service facility provided (a) that such hospital or facility is not located within a three IDlle radius of any
 hospital or facility ofMMI where I have worked more than fifty days in the preceding twelve month period or where
 I have had management authority, (b) that I will not work in a management or supervisory capacity in any hospital,
 business, or facility that is a part of a group of three or more veterinary hospitals, related businesses, or related
 facilities which are, directly or indirectly, under common ownership, cOlltrol, management, operation or
 sponsorship, and (c) that the confidentiality provisions of this Agreement will remain fully binding and enforceable.
 I understand that I will not violate the provisions of this Section should I work for: (1) a pmctice providing
 veterinary serviCes solei), in one specialty SIea, (2) a practice providing solely emergency services, (3) a practice lhat
 cares solely for a species other than dogs, cats, pet birds, or pet reptiles, or (4) an MMI Charter Practice.

        S. Reasonableness. I acknowledge that the confidentiality and noncompetition provisions of this
Agreement are reasonable in view of the interests of MMI in protecting the value of its business and goodwill and
my interest in earning a livelihood,

         6. Severabillt». Ifany provision of this Agreement is ruled to be invalid., illegal Or unenforceable by a
court, such ruling will not affect any other provision of tills Agreement. If any restriction is ruled by a court to be
unenforceable to its fullest extent, then the restriction may be modified by the court to the minimum extent
necessary to make it enforceable, and I authorize and request the court to do so.
                                 .                                                                    .

          7. Remedies. r acknowledge that any use or disclosure of confidentialinforination or any competitive
activities in violation of this Agreement are likely to cause MMI irreparable harm for which money damages will
not be an adequate remedy. Therefore, if I breach or threaten to breach this Agreement, MMI will be entitled to
equitable remedies, including an injunction and/or specific perfomuince, without proof of money damages. I waive
any requirement that MMI post a bond or other security in order to obtain equitable relief. Seeking equitable relief
shall not prevent MMI from also obtaining money damages for the same breach. All of MMl's remedies will be
cumulative. In the event of any litigation (including appeals) under or in connection with this Agreement, the party
who prevails will be entitled to recover its attorney fees and costs from the losing party.

          8. MMI's Right to Term1natc Optlons and Repurchase Shares. In the event I breach any of the
provisions of this Agreement, lVUvD shall have the right to tenninllteany and all of my stock options which either are
granted or vest at any time within the two-year period immediately ptecec.ling the breach or the ten'niDation of my
employment, whichever first o~urs. In addition. MMI shall have the right to purchase from Me; arid I will sell to
MMI, any and all shares of MMI's stock issued upon exercise of any of the options described in the preceding
sentence for a price equal to the price paid by Me for such shares. (OptioIiS granted prior to the date of this
Agreement will not be subject to termination, nor will shares issued upon exercise of such Options be subject to
purcbase by MMI under this section.) MMl shall exercise its rights by written notice to Me within 180 days after
MMI learns of my breach. Upon receipt of s\ll;h notice, together with a check for the purchase pIice for any shares
MM1 elects to repurchase, I shall execute such doctunents as may be. requested by MMI to transfer rhe shares. 1£1
fail to execute and return such documents within ten days of MMI's notice, MMI shall have the right to transfer the
shares, and r hereby appoint M1V1I and each of its officers as my attorney-ill-fact to make such transfer.



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         9. Modification; Waiver. This Agreement may not be modified or discbarged, in whole or in part, and no
provision hereof may be waived, except in writing. No waiver of any provision on a particular occasion will affect
the enforceability of such provision on subsequent occasions, and no waiver of any particular provision will affect
the enforceability of any other provision. Any changes in my duties, salary or compensation will not affect this
Agreement.

          10. Successors and Assignli; Eoforcement by MML Thls Agreement is binding on Me and my heirs,
legal representatives, successors and as~igns and is for the benefit of M.MI, including its Affiliates, and for the
benefit of all their successors and assigns. As used in this. Agreement, the term "Affiliates" includes Charter
Practices International LLC and all other subsidiaries of MMI (regardless of ·the legal form in which they are
organized) and also includes A Caring Doctor, P,C.; A Caring Doctor (Minnesota), PA.j A Caring Doctor (New
Jersey), P.A.; A Caring Doctor (North Carolina), P.C.; A Caring Doctor (Texas), P.C. and any other Person
operating one or more veterinary hospitals or facilities pursuant to an agreement or arrangement with MMI or any
Affiliate. 1 understand that this Agreement may be enforced by any of such PeIsons by whom I am employed, 01 on
whose behalf I perform services, at any time.

          11. Governing Lllw; Jurisdiction and Venue. This Agreement is governed in all respects by the internal,
substantive laws of the · State .of Oregon, without regard to choice of law principles. I irrevocably consent to
jurisdiction and venue in any federal or state court located in Multnornah County, Oregon for any proceeding arising
out of or in cOIUlection with this Agreement, and I waive any objection that such courts are not a proper or
convenient venue. I agree that service of any legal process may be made upon Me by certified mail at the address
set forth below (or such other address as I give MMI in writing), and such service shall be effective on the third day
after mailing.

          12. "At Will." Nothing in this Agreement will affect the "at will" nature of my relationship with MMJ or
the right ofMMI or me to terminate such relationship at any time, with or without cause.

         13. Independent Contractor. If my relationsbip with MMI is that of an independent contractor rather
than an employee, I understand that the terms "employment" and "employed" shall refer to such independent
contractor stalus. In that event, nothing in this Agreement will. in and of itself, establish an employment
relationship between Me and MMI.

         14. "Person" Defined. As used in this Agreement, "Person" means any individual, group of individuals,
corporation, partnership, limited liability company, or other entity of any nature, public or private.

                                                                  ~knuR.
                                                                   Hospital or Team

                                                                    07- 'JJo -      cr$
Signature                                                          Date

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Address:                                                            Social Security Number




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